 Case 15-11801-elf          Doc 88
                                 Filed 02/23/18 Entered 02/23/18 18:23:30                           Desc Main
                                  Document     Page 1 of 2
                            LOCAL BANKRUPTCY FORM 9014-3
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Angela Cephas
                                  Debtor                                              CHAPTER 13

PNC Bank, National Association
                              Movant
              vs.
                                                                                   NO. 15-11801 ELF
Angela Cephas                              Debtor

Jeffrey Cephas                             Co-Debtor

William C. Miller Esq.                     Trustee                          11 U.S.C. Section 362 and 1301

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE


          PNC Bank, National Association has filed a motion with the court for relief from the automatic stay
 of Section 362 of Title 11 of the United States Code, as amended (the Bankruptcy Code), and from the
 codebtor stay of Section 1301 of the Bankruptcy Code.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

         1.      If you do not want the court to grant the relief sought in the motion, then on or before March
 9, 2018 you or your attorney must do all of the following:
                 (a)      file an answer explaining your position at:
                                   United States Bankruptcy Court
                                     Robert N.C. Nix Building
                                   900 Market Street, Suite 400
                                   Philadelphia, PA 19107-4299

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to movant's attorney:
                                    Rebecca A. Solarz, Esquire
                                    KML Law Group, P.C.
                                    Suite 5000 - BNY Mellon Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

         3.       A hearing on the motion is scheduled to be held before the Honorable Eric L. Frank, the
 United States Bankruptcy Judge, in Courtroom No. 1 at the United States Bankruptcy Court, Robert N.C. Nix
 Building, 900 Market Street, Suite 400, Philadelphia, Pa. 19107-4299 on March 20, 2018, at 9:30 a.m., or as
 soon thereafter as counsel can be heard, to consider the motion.

          4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
 request a copy from the attorney named in paragraph 1(b).
Case 15-11801-elf       Doc 88     Filed 02/23/18 Entered 02/23/18 18:23:30             Desc Main
                                   Document      Page 2 of 2

        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.

                                                   /s/ Rebecca A. Solarz, Esquire
                                                   Rebeca A. Solarz, Esquire
                                                   KML Law Group, P.C.
                                                   701 Market Street, Suite 5000
                                                   Philadelphia, PA 19106-1532
                                                   Phone: (215) 627-1322 Fax: (215) 627-7734
                                                   Attorneys for Movant/Applicant

February 23, 2018
